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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )        Criminal Case No. 22-cr-00007-LKG
                                                )
 MARILYN J. MOSBY,                              )        Dated: September 20, 2023
                                                )
         Defendant.                             )
                                                )

                              AMENDED SCHEDULING ORDER
        The Court, with the assistance of the parties, MODIFIES the Scheduling Order, dated
July 12, 2023, as follows:

      Consolidated response to Defendant’s motion to
      dismiss; Defendant’s motion for a bill of
      particulars; and Defendant’s motion to disqualify       March 11, 2022
      counsel.

      Consolidated reply in support of Defendant’s
      motion to dismiss; Defendant’s motion for a bill of
      particulars; and Defendant’s motion to disqualify
      counsel.                                                March 25, 2022

      Hearing on pre-trial motions and first pre-trial
      status conference.                                      April 14, 2022, at 2 p.m., in
                                                              Courtroom 1A of the Edward A.
                                                              Garmatz Building, 101 West
                                                              Lombard Street, Baltimore,
                                                              Maryland 21201.

      Meet and confer regarding expert witnesses and pre-
      trial motions.                                      May 1, 2023

      The parties’ expert disclosures.                        June 30, 2023

      Pre-trial motions and supplemental expert
      disclosures.                                            June 30, 2023

      Responses to pre-trial motions, except motion to
      transfer venue.                                         July 14, 2023
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Replies to pre-trial motions, except motion to
transfer venue.                                         July 21, 2023


Response to motion to transfer venue.                   August 11, 2023

Parties shall FILE proposed CARES Act-related
jury instructions and any supportive briefing           August 14, 2023

Reply to motion to transfer venue.                      August 18, 2023

Responsive briefs on CARES Act-related
jury instructions.                                      August 28, 2023

Pre-trial status conference and hearing on motion(s)
to exclude, to supplement, and on CARES Act-related
jury instructions.                                      September 8, 2023, in Courtroom
                                                        1A of the Edward A. Garmatz
                                                        Building, 101 West Lombard
                                                        Street, Baltimore, Maryland 21201.

Motion(s) in limine; proposed voir dire; revised
proposed jury instructions; and a proposed jury
verdict form. In preparing proposed voir dire,
proposed jury instructions, and a proposed jury
verdict form, counsel shall meet and confer and, to
the fullest extent possible, make a joint submission.
Counsel shall identify any matters of disagreement
through supplemental filings.                           September 22, 2023

Responses to motion(s) in limine.                       September 29, 2023

Replies to motion(s) in limine.                         October 6, 2023

Pre-trial status conference and hearing on motion(s)
in limine.                                           October 23, 2023, in Courtroom 1A
                                                     of the Edward A. Garmatz
                                                     Building, 101 West Lombard
                                                     Street, Baltimore, Maryland 21201.

Final pre-trial status conference.                      October 30, 2023, in Courtroom 4C
                                                        of the U.S. District Court, Southern
                                                        Division, 6500 Cherrywood Lane,
                                                        Greenbelt, MD 20770.



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Jury selection.                              October 31, 2023, in Courtroom 4C
                                             of the U.S. District Court, Southern
                                             Division, 6500 Cherrywood Lane,
                                             Greenbelt, MD 20770.

Jury trial.                                  November 2, 2023, in Courtroom
                                             4C of the U.S. District Court,
                                             Southern Division, 6500
                                             Cherrywood Lane, Greenbelt, MD
                                             20770.


   IT IS SO ORDERED.


                                    s/ Lydia Kay Griggsby
                                    LYDIA KAY GRIGGSBY
                                    United States District Judge




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